EDMUND G. BROWN JR.
Attorney General of the State of California
DAVID S. CHANEY
Chief Assistant Attorney General
FRANCES T. GRUNDER
Senior Assistant Attorney General
ROCHELLE C. EAST
Supervising Deputy Attorney General
LISA A. TILLMAN, State Bar No. 126424
Deputy Attorney General

1300 I Street, Suite 125

P.O. Box 944255

Sacramento, CA 94244-2550

Telephone: (916) 327-7872

Fax: (916) 324-5205

Email: Lisa.Tillman@doj.ca.gov

Attorneys for Defendants

HSe 2:90-cv-00520-KJM-SCR Document 2177

RALPH COLEMAN, et al.,

Vv.

ARNOLD SCHWARZENEGGER, et al.,

Plaintiffs,

Defendants.

briefing schedule.

DEF. OBJECTION TO APP. ORDER SHORTEN TIME

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

2:90-cv-00520 LKK JFM P

DEFENDANTS’ OBJECTION
TO PLAINTIFFS’
APPLICATION FOR AN
ORDER SHORTENING TIME

Defendants have received Plaintiffs’ Application for an Order Shortening Time on
Plaintiffs’ Motion for Emergency Relief Regarding Defendants’ Denial of Access to Inpatient
Psychiatric Beds in DMH’s State Hospitals. The Application and Motion were filed after close

of business on Friday, March 23, 2007. The Application does not state a sought hearing date or

Plaintiffs have informed Defendants that they must indicate their willingness to
stipulate to the Application for an Order Shortening Time by noon today or Plaintiffs will
proceed further on their request. (Ex. A, Atty. Whelan Email, 3/23/07.) This afternoon,

Plaintiffs’ counsel stated the deadline was changed to 4:30 p.m. today. (Ex. D, Atty. Bien Email,

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3/25/07.) Defendants have requested, in person and in writing, a statement of the date and
briefing schedule sought by Plaintiffs in their Application for an Order Shortening Time.
(Dec. Tillman, {ff 4, 7, 8, 9; Ex. E.) No such statement has been provided. (Dec. Tillman, § 9.)
Defendants therefore request this Court deny the Application or, in the alternative, permit
Defendants adequate time to respond to the Application once Plaintiffs make known the sought
hearing date and briefing schedule.

Dated: March 26, 2007

Respectfully submitted,

EDMUND G. BROWN JR.
Attorney General of the State of California

DAVID S. CHANEY
Chief Assistant Attorney General

FRANCES T. GRUNDER
Senior Assistant Attorney General

ROCHELLE C. EAST
Supervising Deputy Attorney General

/s/ Lisa A. Tillman

LISA A. TILLMAN
Deputy Attorney General
Attorneys for Defendants

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DEF. OBJECTION TO APP. ORDER SHORTEN TIME

